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                                               Linda Myhre Enlow
                                              Thurston County Clerk




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